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 KUTAK ROCK LLP
 Loc Pfeiffer (VSB No. 39632)
 Jeremy S. Williams (VSB No. 77469)
 1111 East Main Street, Suite 800
 Richmond, VA 23219-3500
 804-644-1700
  Counsel for Bruce E. Robinson, Trustee

                       IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

 IN RE: WILLIAM ANDREW KARO,                                         Case No. 13-33011
                                                                     Chapter 7
                                   Debtor.

                          NOTICE OF MOTION TO APPROVE
                      COMPROMISE WITH PAGE KARO AND W.A.K., II

         PLEASE TAKE NOTICE that Bruce E. Robinson, (the “Trustee”), Trustee for the
 Bankruptcy Estate of William Andrew Karo, (the “Debtor”), by counsel, has filed a Motion to
 Approve Compromise with Page Karo and W.A.K., II (the “Motion”). The Motion is on file in
 the office of the Clerk of the United States Bankruptcy Court for the Eastern District of Virginia,
 Richmond Division, United States Courthouse, 701 East Broad Street, Richmond, Virginia and
 may be reviewed by any party in interest during normal business hours. You may also review
 the Motion via the Internet at http://vaeb.uscourts.gov or by contacting the attorney below.

         The Trustee seeks to compromise a claim he has against Page Karo and her son, known
 as “WAK” (collectively “Defendants”). The claim relates to a disclaimer executed by the Debtor
 in which the Debtor attempted to transfer his interest in a family trust to WAK. The Trust was
 liquidated and approximately $458,237.40 was deposited into accounts controlled by
 Defendants; however, most of the funds have been spent. The Trustee has engaged in in-depth
 fact finding to determine the likelihood of a recovery against Page Karo and WAK. After
 extensive negotiations, the parties reached a compromise in which the Trustee agrees to accept
 $50,000.00 in full and final settlement of any and all claims by the Trustee against Defendants
 (the “Settlement”).

          In exercising his business judgment, the Trustee believes the Settlement is fair and
 equitable and in the best interest of the Debtor’s bankruptcy estate and creditors. Based on the
 existing case law and the unique circumstances, it is uncertain how the Court would resolve the
 dispute. Further, a substantial portion of the funds were spent and there is little prospect of a
 further recovery from the Defendants. The Settlement was reached after analysis of pending
 issues, conducting significant research and due diligence, back and forth negotiations between
 the Trustee and the Defendants, and after taking into consideration the time, expense and risk of
 fully litigating these matters before the Court. The unique circumstances underlying the dispute
 and intersecting legal issues make the litigation more complex. The Settlement with the
 Defendants is reasonable because it allows the Trustee to obtain a guaranteed recovery without
 delay and avoids the potentially large administrative expenses of litigation.


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        Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have one in this bankruptcy case. (If you do not have an
 attorney, you may wish to consult one). If you do not want the court to grant the relief sought
 in the Motion, or if you want the court to consider your views on the Motion, then you or your
 attorney must:

        1.    File with the court, at the address shown below, a written response pursuant to
 Local Bankruptcy Rules 9013-1 within 21 days of the filing of the Motion.

                                  Clerk of the Court
                                  United States Bankruptcy Court
                                  701 East Broad Street
                                  Richmond, VA 23219

          2.        You must also mail a copy to:

                                  Jeremy S. Williams, Esquire
                                  Kutak Rock LLP
                                  1111 East Main Street, Suite 800
                                  Richmond, VA 23219

        3.       No hearing has been set on this matter. If an objection is filed, a hearing will be
 scheduled and you will receive notice of such hearing. In addition to filing a written objection to
 the motion you must attend the hearing. If you fail to file timely a written response and to attend
 the hearing, the Court may consider any objection you may have waived and enter an Order
 granting the relief requested in the motion.

                                                       BRUCE E. ROBINSON, TRUSTEE

                                                       By: /s/ Jeremy S. Williams
                                                                    Counsel

 KUTAK ROCK LLP
 Loc Pfeiffer (VSB No. 39632)
 Jeremy S. Williams (VSB No. 77469)
 1111 East Main Street, Suite 800
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                                 CERTIFICATE OF SERVICE

          I certify under penalty of perjury that on November 11, 2015, a true and exact copy of the
 foregoing document was forwarded to all necessary parties via the Court’s ECF system or by
 first class mail, postage prepaid, on all parties on the attached service list, and to:

 U.S. Trustee’s Office
 Shannon Pecoraro
 Office of the U.S. Trustee
 701 East Broad Street, Suite 4304
 Richmond, VA 23219
 Email: Shannon.pecoraro@usdoj.gov

 Counsel to the Debtor
 Charles H. Krumbein
 Krumbein Consumer Legal Services, Inc.
 1650 Willow Lawn Dr.
 Suite 300
 Richmond, VA 23230
 Email: charlesh@krumbein.com

 Counsel to the Defendants
 William R. Baldwin, III
 Thorsen, Honey, Baldwin & Meyer LLP
 5600 Grove Avenue
 Richmond, Virginia 23226
 Email: billbaldwin@mthblaw.com

                                                      /s/ Jeremy S. Williams
                                                              Counsel




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                                         SERVICE LIST
 Bank of America                                Wells Fargo Bank, NA
 ATTN: NC4105-03-14                             PO Box 10438
 PO Box 26012                                   MAC: X2505-036
 Greensboro, NC 27420-6012                      Des Moines, IA 50306

 Bankers Life & Casualty                        Wells Fargo Bank
 10800 Midlothian Turnpike                      PO Box 60510
 Richmond, VA 23235                             Los Angeles, CA 90060

 Bruce E. Robinson                              Wells Fargo Financial, Inc.
 PO Box 538                                     4143 121st Street
 415 E. Atlantic Street                         Urbandale, IA 50323
 South Hill, VA 23970

 Caine & Wiener                                 Wells Fargo Home Mortgage, Inc.
 21210 Erwin Street                             MAC: X2302-04C
 Woodland Hills, CA 91367                       One Home Campus
                                                Des Moines, IA 50328

 Comcast Communications                         Westwood Pharmacy
 PO Box 3006                                    5823 Patterson Avenue
 Southeastern, PA 19398                         Richmond, VA 23226

 Credit Protection Assoc.
 ATTN: Bankruptcy
 PO Box 802068
 Dallas, TX 75380

 Judy A. Robbins
 Office of the US Trustee – Region 4-R
 701 E. Broad Street, Suite 4304
 Richmond, VA 23219

 Online Collections
 PO Box 1489
 Winterville, NC 28590

 Stuart Allan & Assoc.
 5447 E. 5th Street
 Suite 110
 Tucson, AZ 85711




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